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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

ALLIANCE LAUNDRY SYSTEMS LLC,

       Plaintiff,

v.

TRUDY ADAMS, et al.,

        Defendants
--------------------------------------------------
TRUDY ADAMS, JOHN “CLAY”
WILLIAMS,
                                                     Case No.: 23-cv-22130-MCR-ZCB
       Defendant/Counterclaim
       Plaintiffs,

v.

ALLIANCE LAUNDRY SYSTEMS LLC,
GREG REESE, MIKE HAND and
SAMANTHA BAKER,

       Plaintiff/Counterclaim
       Defendants and Third-Party
       Defendants


                        DECLARATION OF SEAN LANTERMAN


       I, Sean Lanterman, being first duly sworn and under oath, depose and

state as follows:

       1.      I am an adult resident of the state of Minnesota. I am a licensed
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attorney and a full-time employee of Computer Forensic Services.

      2.    I have been involved in the analysis of digital evidence submitted

to my office in connection with this matter since the beginning of Computer

Forensic Services’ engagement. Primarily, I have acted as a peer reviewer.

      3.    It is standard procedure at Computer Forensic Services to peer

review all of the forensic work we conduct. This occurs in multiple stages.

      4.    First, on all cases, and in this case, once data is made available for

analysis or otherwise preserved (e.g., by the creation of forensic copies of

source devices/material), the lead analyst as well as two (2) additional

Computer Forensic Services analysts, each conduct their own independent

analyses of such data. Once these independent analyses are completed, the

results are shared between the assigned personnel for purposes of comparison

and discussion about their respective findings.

      5.    Second, when a report or other dispositional communication is

prepared for submission, the other two (2) Computer Forensic Services

forensic analysts review its content to ensure that it is complete and factually

accurate.

      6.    In the above-referenced case, I, along with one of my colleagues,

Bill Michael, have served as peer reviewers throughout the course of our work,

including at the stages described above.
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      7.    It has recently been announced that my father and colleague, Mark

Lanterman, is now under investigation regarding his credentials. This has led

to significant media coverage.

      8.    As a result, I made the difficult decision to request that Mark

Lanterman to step down from his position at Computer Forensic Services

during the pendency of the investigation so that it does not distract from the

company’s work and to reduce harm to other employees of the company.

      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.

      Dated March 28, 2025.


                                          Sean Lanterman
